Case 8:17-cv-01397-JVS-JDE Document 56-1 Filed 12/11/17 Page 1 of 1 Page ID #:286




  SACV 17-01397 JVS(JDEx): Megan Schmit v. Younique LLC, et al.



        Jury Trial                          February 19, 2019 at 8:30 a.m.
               File Findings of Fact and Conclusions of Law by February 12, 2019

        Final PreTrial Conference              February 4, 2019 at 11:00 a.m.
                File PreTrial Documents not later than January 29, 2019
                File motions in limine not later than January 7, 2019

        Discovery Cut-off                     June 1, 2018

        Expert Discovery Cut-off               December 15, 2018
                Initial disclosure of Experts not later than August 1, 2018
                Rebuttal disclosure of Experts not later than October 1, 2018

        Law and Motion Cut-off              January 7, 2019 at 1:30 p.m.
               Motions to be filed and served not later than December 4, 2018
